
Jones, J. (dissenting).
In this support petition brought under the Uniform Interstate Family Support Act (UIFSA) (Family Ct Act art 5-B), H.M., the biological parent of a child born in September 1994, seeks to charge E.T., her former same-sex partner, with the financial responsibility for the support of the child who was planned, conceived and born during the couple’s relationship, but who never had any continuing relationship with E.T., who ended the relationship with H.M. when the child was three months old. Because Family Court lacks subject matter jurisdiction to hear such a petition, I respectfully dissent and would affirm the order of the Appellate Division.
It is well settled that “Family Court is a court of limited jurisdiction that cannot exercise powers beyond those granted to it by statute” (Matter of Johna M.S. v Russell E.S., 10 NY3d 364, 366 [2008]; see Matter of Pearson v Pearson, 69 NY2d 919, 921 [1987]; Matter of Silver v Silver, 36 NY2d 324, 326 [1975]; Family Ct Act § 115) or the State Constitution (see NY Const, art VI, § 13). In addition, Family Court has no general equity jurisdiction; as such, it cannot grant equitable relief (see Matter of Brescia v Fitts, 56 NY2d 132, 139 [1982]).
H.M. brought her petition pursuant to UIFSA and sought a declaration of “parentage,” a proceeding authorized by UIFSA. Family Court received the petition and is the “responding tribunal” under UIFSA, which states, “a responding tribunal of this state . . . shall apply the procedural and substantive law . . . generally applicable to similar proceedings originating in this state and may exercise all powers and provide all remedies *532available in those proceedings” (Family Ct Act § 580-303 [1]). This rule is applicable to proceedings for the determination of parentage under UIFSA (see Family Ct Act § 580-701 [b]). As such, UIFSA does not supplant or otherwise make changes in the procedural and substantive law of New York.
Under the clear and unambiguous language of the Family Court Act—the statute defining the powers of Family Court— the only proceeding “similar” to a proceeding for the determination of “parentage” is the “Paternity Proceeding[ ]” under article 5, which provides a vehicle for determining whether a male is the father of a particular child. The majority argues, though, that Family Court has authority under Family Court Act article 4 to hear H.M.’s support petition. I disagree.
Family Court Act § 413 (1) (a) provides:
“the parents of a child under the age of twenty-one years are chargeable with the support of such child and, if possessed of sufficient means or able to earn such means, shall be required to pay for child support a fair and reasonable sum as the court may determine. The court shall make its award for child support pursuant to the provisions of this subdivision” (emphasis added).
Although the term “parent” is not defined in the Family Court Act, that term has been defined as follows:
“The lawful father or mother of someone. In ordinary usage, the term denotes more than responsibility for conception and birth. The term commonly includes (1) either the natural father or the natural mother of a child, (2) either the adoptive father or the adoptive mother of a child, (3) a child’s putative blood parent who has expressly acknowledged paternity, and (4) an individual or agency whose status as guardian has been established by judicial decree” (Black’s Law Dictionary 1222 [9th ed 2009] [emphasis added]).
In addition, one may gain the status of a legal parent through second-parent adoption (see Matter of Jacob, 86 NY2d 651 [1995]) or by entering a civil union or same-sex marriage in a state with laws providing that participants of such unions have parental rights with respect to children either member or spouse becomes the natural parent of during the course of the union.
To be sure, Family Court may charge both men and women with support obligations based on a biological or adoptive or *533“guardianship by judicial decree” or other legal “parental” connection to a child. Charging support obligations to one with such a legal relationship to a child is clearly within Family Court’s jurisdiction under article 4.
Here, however, H.M. seeks child support from a woman with no biological or other legal connection to the child.1 Accordingly, Family Court has no legal authority to address H.M.’s petition under Family Court Act article 4. In order for Family Court to find that support obligations are chargeable to E.T. under article 4, it would have to grant H.M. the type of equitable relief that is beyond its jurisdiction.
My analysis is consistent with the holding in Matter of Shondel J. v Mark D. (7 NY3d 320, 328 [2006] [respondent was equitably estopped from denying paternity of petitioner mother’s child—for support purposes—because respondent “represented that he was the father of the child, and (the child) justifiably relied on this representation, changing her position by forming a bond with him”]). Shondel J. makes clear that the doctrine of equitable estoppel is applicable, in the child support context, only to preclude a party’s reliance on genetic marker and DNA testing to prove or disprove paternity when such an approach is warranted to prevent disruption of an ongoing parent/child relationship (see Family Ct Act § 418 [a]; § 532 [a]; see e.g. Shondel J., supra).2 Put differently, Family Court may apply the doctrine of equitable estoppel only in the stated limited circumstances as a means of granting relief it is statutorily authorized to grant.
Finally, I note that, although Supreme Court would have jurisdiction over H.M.’s equitable claim, that court is also without authority to declare E.T. the child’s parent on the basis of equitable estoppel. This is true in the visitation and custody context (see Debra H. v Janice R., 14 NY3d 576 [2010] [decided today]) as well as the child support arena where the standard for determining who constitutes a support parent is no different than the rule applied in Family Court.
*534In reversing the Appellate Division’s order, the majority relies on an overly broad reading of Family Court Act article 4 that is inconsistent with the Family Court’s limited subject matter jurisdiction and lack of equity jurisdiction. Further, the position taken by the majority here is inconsistent with this Court’s holding today in Debra H. (supra), which reaffirmed that Matter of Alison D. v Virginia M. (77 NY2d 651 [1991] [Held that only a child’s biological or adoptive parent has standing to seek visitation against the wishes of a fit custodial parent. Stated differently, a known stranger to a child—i.e., one with no biological, adoptive or other legal relationship—cannot assert that he/ she is a parent for visitation purposes]) is still good law.
For the foregoing reasons, I dissent and would affirm the order of the Appellate Division.
Chief Judge Lippman and Judges Smith and Pigott concur with Judge Ciparick; Judge Smith concurs in a separate concurring opinion; Judge Jones dissents and votes to affirm in another opinion in which Judges Graffeo and Read concur.
Order reversed, etc.

. Specifically, H.M. asserts that E.T. is, or is estopped from denying that she is, the child’s “parent,” and is therefore chargeable with the child’s support.


. In this case, there is no allegation that, believing E.T. to be a biological parent (or, for that matter, a parent by virtue of adoption or a civil union), the child established a parent/child bond that would be upset if E.T. were allowed to rely on DNA tests to show that she is not a parent, nor in any event could the preclusion of genetic marker or DNA tests result in a holding that E.T. is a support parent.

